               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MAXWELL KADEL, et al.,

                          Plaintiffs,

                     v.                      Case No. 1:19-cv-00272-LCB-LPA

DALE FOLWELL, in his official capacity as
State Treasurer of North Carolina, et al.,

                          Defendants.


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
    EXCLUDE EXPERT TESTIMONY OF STEPHEN B. LEVINE, M.D.




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I.      STATEMENT OF THE CASE AND FACTUAL BACKGROUND

        Plaintiffs, all current or former employees, or dependents of current or former

employees, of certain North Carolina public Universities (“NC Universities”) or the North

Carolina Department of Safety (“NCDPS”) filed an Amended Complaint with this Court

on March 12, 2021 challenging a discriminatory exclusion in the North Carolina State

Health Plan for Teacher and State Employees (“State Health Plan”).

        Plaintiffs contend that the State Health Plan’s exclusion of coverage for gender-

confirming healthcare treatment violates their equal protection rights and discriminates

against them based on their sex in violation of Title IX and the Affordable Care Act.

II.     QUESTION PRESENTED

        Whether the testimony of Stephen B. Levine, M.D.,1 should be excluded because

it is irrelevant and unreliable in accordance with Daubert v. Merrell Dow Pharm. Inc.,

509 U.S. 579 (1993) and the applicable Federal Rules of Evidence.

III.    SUMMARY OF THE ARGUMENT

        Dr. Levine’s proffered opinions fall into three categories of exclusion. First, most

of Dr. Levine’s opinions are irrelevant because they are not in opposition to the relief

Plaintiffs seek and instead align with Plaintiffs’ experts. Second, Dr. Levine’s opinions fail

to create any material disputes of fact because the relevance of his opinions are outside the

scope of the parties’ dispute which is simply whether an insurance plan can exclude

coverage for some people that it does not exclude for others. Further, his opinions cover


1
 Declaration of Stephen B. Levine, M.D., signed April 28, 2021, is attached as Exhibit A
to the concurrently filed Declaration of Carl S. Charles (“Charles Decl.”).

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topics already addressed by Fourth Circuit precedent including the appeal in this case,

Kadel v. N. Carolina State Health Plan for Tchrs. & State Emps., 12 F.4th 422 (4th Cir.

2021) and Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020), as amended

(Aug. 28, 2020), cert. denied, 141 S. Ct. 2878 (2021). Third, Dr. Levine’s remaining

opinions must be excluded because they are unreliable, not based on scientific

methodology but rather untested hypotheses, pure speculation, and beliefs that lack any

support besides Dr. Levine’s own ipse dixit. As Dr. Levine’s opinions should be excluded

pursuant to Daubert standards, and – when viewed in the context of Federal Rule of

Evidence 403, any probative value is substantially outweighed by the danger of unfair

prejudice, confusion of issues confusion of the issues, waste of time, undue delay and

needless presentation of cumulative evidence – this Court must exclude them.

       Relevant to this Court’s consideration is other federal courts’ resounding dismissal

of Dr. Levine’s opinions about transgender people and the treatment of gender dysphoria.

This began seven years ago with the holding in Norsworthy v. Beard, 87 F. Supp. 3d 1164,

1188–89 (N.D. Cal. 2015) that “the Court gives very little weight to the opinions of Levine,

whose report misrepresents the Standards of Care; overwhelmingly relies on

generalizations about gender dysphoric prisoners, rather than an individualized assessment

of Norsworthy; contains illogical inferences; and admittedly includes references to a

fabricated anecdote.” This holding was echoed in Edmo v. Idaho Dep’t of Corr. 358 F.

Supp. 3d 1103, 1125-1126 (D. Idaho 2018) (vacated in part on other grounds in Edmo v.




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Corizon, Inc., 935 F.3d 757 (9th Cir. 2019)) (holding that Dr. Levine “is an outlier in the

field of gender dysphoria” and place[s] “virtually no weight” on his opinions.).

       Dr. Levine’s opinions were further diminished in Hecox v. Little, where the Court

dismissed his opinion that “gender affirming policies are harmful to transgender

individuals,” and instead “accept[ed] Plaintiffs’ evidence regarding the harm forcing

transgender individuals to deny their gender identity can cause.” 479 F. Supp. 3d 930, 977

n.33 (D. Idaho 2020). And in this year alone, two more federal courts strongly discounted

his proffered testimony by granting preliminary injunction motions against laws banning

gender-confirming medical care and participation in school athletics, respectively. Brandt

v. Rutledge, No. 4:21CV00450 JM, 2021 WL 3292057 (E.D. Ark. Aug. 2, 2021); B. P. J.

v. W. Virginia State Bd. of Educ., No. 2:21-CV-00316, 2021 WL 3081883 (S.D.W.Va. July

21, 2021).

IV.    ARGUMENT

       A.     Legal Standard

       Federal Rule of Evidence 702 places “a special gatekeeping obligation” on a trial

court to ensure that an expert’s testimony is “relevant to the task at hand” and “rests on a

reliable foundation.” Daubert, 509 U.S. at 597; Sardis v. Overhead Door Corp., 10 F.4th

268, 281 (4th Cir. 2021); see Advisory Committee Note to 2000 Amendments to Rule 702

(amendment “affirms the trial court's role as gatekeeper,” and that “all types of expert

testimony present questions of admissibility for the trial court in deciding whether the

evidence is reliable and helpful”). The party offering the expert carries the burden of


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establishing the admissibility of testimony by a preponderance of the evidence. Cooper v.

Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001).

       The initial step is to determine whether the proposed expert is qualified to render

the proffered opinion. In doing so, a trial court considers an expert’s professional

qualifications and “full range of experience and training.” Belk, Inc. v. Meyer Corp., U.S.,

679 F.3d 146, 162 (4th Cir. 2012), as amended (May 9, 2012) (cleaned up). If the purported

expert lacks the knowledge, skill, experience, training or education on the issue for which

the opinion is proffered, the trial court must exclude the expert. See, e.g., Thomas J. Kline,

Inc. v. Lorillard, Inc., 878 F.2d 791, 799 (4th Cir. 1989); Mod. Auto. Network, LLC v. E.

All. Ins. Co., 416 F. Supp. 3d 529, 537 (M.D.N.C. 2019) (Biggs, J.), aff’d, 842 F. App’x

847 (4th Cir. 2021). Even if the expert is deemed qualified, the trial court must consider

the relevancy of the expert’s testimony as “a precondition to admissibility.” Sardis, 10

F.4th at 282 (cleaned up). To be relevant, the testimony must have “a valid scientific

connection to the pertinent inquiry.” Id. at 281 (“Simply put, if an opinion is not relevant

to a fact at issue, Daubert requires that it be excluded.”).

       Finally, if deemed relevant, the trial court will inquire if the opinion is based on a

reliable foundation, which focuses on “the principles and methodology” employed by the

expert to assess whether it is “based on scientific, technical, or other specialized knowledge

and not on belief or speculation.” Id. at 281, 290 (cleaned up). When evaluating whether

an expert’s methodology is reliable, a court considers, among other things:

       (1) whether the expert’s theory can be and has been tested; (2) whether the
       theory has been subjected to peer review and publication; (3) the known or

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       potential rate of error of the particular scientific technique; and (4) whether
       the technique is generally accepted in the scientific community.

Id.; see also Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149-150 (1999); Daubert,

509 U.S. at 593-94. While trial courts have “broad latitude” to determine reliability, they

must engage in the gatekeeping process and not simply “delegate the issue to the jury.”

Sardis, 10 F.4th at 281.

       In certain situations, when an expert relies upon his experience and training, and not

a specific methodology, the application of Daubert is more limited. See Freeman v. Case

Corp., 118 F.3d 1011, 1016 n.6 (4th Cir. 1997). When addressing an expert whose

methodology is grounded in experience, courts use three factors: “1) how the expert’s

experience leads to the conclusion reached; 2) why that experience is a sufficient basis for

the opinion; and 3) how that experience is reliably applied to the facts of the case.” SAS

Inst., Inc. v. World Programming Ltd., 125 F. Supp. 3d 579, 589 (E.D.N.C. 2015); see also

Nat'l Ass’n for Rational Sexual Offense L. v. Stein, No. 1:17-cv-53, 2021 WL 736375, at

*3 (M.D.N.C. Feb. 25, 2021) (Biggs, J.).

       Finally, because “expert evidence can be both powerful and misleading because of

the difficulty in evaluating it,” “the judge in weighing possible prejudice against probative

force under Rule 403…exercises more control over experts than over lay witnesses.”

Daubert, 509 U.S. at 595 (cleaned up). As such, “the importance of [the] gatekeeping

function cannot be overstated.” Sardis, 10 F.4th at 283 (cleaned up).




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       B.   Many of Dr. Levine’s Opinions Have No Relevance To This Case
       Because They Are Consistent With Plaintiffs’ Position.

       Nearly all of Dr. Levine’s opinions are not relevant and will not help the “trier of

fact to understand the evidence or to determine a fact in issue,” because, with very limited

exception, he simply does not oppose the relief plaintiffs seek. Nease, 848 F.3d at 229. For

that reason, Dr. Levine’s opinions do not “fit” with the facts relevant to resolving Plaintiffs’

claims. Bourne v. E.I. DuPont de Nemours & Co., 85 F. App’x 964, 966 (4th Cir. 2004);

Viva Healthcare Packaging USA Inc. v. CTL Packaging USA Inc., 197 F. Supp. 3d 837,

846 (W.D.N.C. 2016) (“The test for relevance, or ‘fit,’ considers ‘whether expert testimony

proffered in the case is sufficiently tied to the facts of the case that it will aid the jury in

resolving a factual dispute.’” (quoting Daubert, 509 U.S. at 591)).

       Overwhelmingly, Dr. Levine’s opinions align with the relief Plaintiffs seek in this

case: that adolescents and adults with gender dysphoria receive and be able to access and

afford individualized medical treatments. Charles Decl., Ex. B at 66:21-67:3; 69:18-70:2.

For almost fifty years, Dr. Levine’s clinical practice has notably adhered to the medical

community’s widely accepted and authoritative guidance for transgender care, the World

Professional Association of Transgender Health (“WPATH”) Standards of Care (“SOC”).

Charles Decl., Ex. C at 1-100:15-22. As the WPATH’s former Chairman of the SOC

Committee, Dr. Levine helped to write Version 5 of the WPATH SOC, recognized his own

writing in Version 7, and asked if he could help draft the forthcoming Version 8. Charles

Decl., Ex. A at ¶3; Ex. D at 37:17-38:7; Ex. C at 1-90:10-20. In accordance with the SOC,



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he provides individualized treatment including providing letters of recommendation for

gender affirming surgeries and hormone therapy. Charles Decl., Ex. B at 55:13-17; 56:2-

5; 112:16-21; 176:8-16. He does not provide such letters unless he has sufficiently

informed patients and received a reasonable assurance that they understand. Charles Decl.,

Ex. B at 176: 8-16; 225:24-226:17. He testified repeatedly that he “is not advocating

denying endocrine treatment or surgical treatment” to transgender people, a position he

described as “draconian.”2

       Dr. Levine admitted at deposition that he is “not an expert in health insurance,” nor

an expert about what “health insurance should or should not cover.” Charles Decl., Ex. B

at 86:1-8. But he supported the idea that patients should be able to access and afford

treatment for gender dysphoria.3 Id. at 66:21-67:3. Dr. Levine also confirmed that he has

not met with or interviewed any of the Plaintiffs and is not offering any opinions about

them, including the veracity of their symptoms of gender dysphoria, the accuracy of their



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  Charles Decl., Ex. B at 73:4-7 (“Q: Is the worrisomeness about a patient’s future health,
is that a reason to ban all medical care for gender dysphoria? A: Absolutely not.”); 84:21-
85:1 (“Q: Given all those concerns you have, is that a reason to deny all medical
interventions to people with gender dysphoria? A: No ….”); 85:4-11 (“Q: Are those
concerns you raised justifications in your mind for denying medical interventions to
people who have gender dysphoria? A: You know, I’m not advocating denying endocrine
treatment or surgical treatment.”); 152:1-6 (“Q: do you think because that study showed
that some people committed suicide after gender affirming surgery that no patient should
be able to access gender affirming surgery? A: That would be illogical”); 154:3-5 (“Q:
But you’re not recommending total bans on gender affirming surgery? A: I’m not
recommending total bans.”); 160:23-25 (“I did not say that gender affirming treatment in
general should be stopped. I’ve never said that.”).
3
  And testified at deposition only nine months earlier that treatment should be afforded
through insurance coverage if necessary. Charles Decl., Ex. G at 156:10-157:17.

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diagnoses, their mental health histories, or the effects of any treatment they have received.

Charles Decl., Ex. A at ¶128; Ex. B at 91:5-92:5. None of these opinions are oppositional

to relief Plaintiffs seek, and therefore are not relevant to the issues before this Court.

Additionally, his uncertainty about the percentage of transgender people who experience

gender dysphoria, ECF No. 137-8, 241:24-242:14, has no relevance to the transgender

plaintiffs before the Court who do requirement treatment. And his speculation about people

“who present themselves as cis gender” but may have cross-gender identification and

“really dangerous degrees of substance abuse” is completely untethered to the claims here.

ECF No. 137-8, 242:15-243:20.

       C.    Certain Opinions of Dr. Levine Have No Relevance To This Case
       Because They Address Issues Beyond The Scope Of The Dispute Or Have
       Already Been Decided By The Fourth Circuit.

       Dr. Levine’s opinions fail to create any material disputes of fact because the

relevance of his opinions has been disclaimed by the binding admissions of Defendants’

witnesses. For example, Dr. Levine proposes to offer the opinion that “sex as defined by

biology and reproductive function cannot be changed.” Charles Decl., Ex. A at ¶8(a), ¶12.

But this is simply an insurance dispute asking whether a state health plan’s categorical

exclusion of care for transgender people that is covered for cisgender people discriminates

based on sex and transgender status. The Court need not resolve questions about the

etiology of sex or being transgender, whether “sex is permanently assigned at conception,”

or, frankly, whether it is okay for a person to be transgender. Id. at ¶9. The Court here need

only decide whether this insurer can deny the same kinds of treatments to transgender


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people that it affords to cisgender people. The Fed. R. Civ. P. 30(b)(6) witness for the

health plan, Dee Jones, agrees. She testified that individuals enrolled in the State Health

Plan can change their sex identification marker in the Plan’s records by simply calling into

the call center, talking to a representative, validating their identity and requesting the

change. Charles Decl., Ex. E at 85:10-87:22. She further testified that to make such a

change the Plan does not require proof of the enrollee’s current physical anatomy, their

DNA, or their chromosomal make up. Id. The Plan thus takes no position on the issues in

Dr. Levine’s report about the etiology of sex, and instead respects participants’ self-

reported gender identity as an accurate determinant of their sex designation. Facts provided

by Defendants’ own witnesses render Dr. Levine’s proposed opinions about “immutable

biology” irrelevant.

       Dr. Levine’s opinions do not help this Court because the Fourth Circuit’s precedent

informs review of the issues. Controlling precedent on these issues in the recently decided

Grimm v. Gloucester Cnty. Sch. Bd. and the Fourth Circuit appeal in this case render Dr.

Levine’s opinions irrelevant. His attempts to disparage the credibility of the WPATH and

diminish the SOC as ideological and unscientific fail and are ironically contrary to his

testimony about treatment he provides transgender patients in private practice, which

follows the SOC. Charles Decl., Ex. B at 55:13-17; 56:2-5; 112:16-21; 176:8-16; 225:24-

226:17. Further, this “opinion” is directly contrary to the Fourth Circuit’s holding in

Grimm:

       Fortunately, we now have modern accepted treatment protocols for gender
       dysphoria. Developed by the World Professional Association for Transgender

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       Health (WPATH), the Standards of Care for the Health of Transsexual,
       Transgender, and Gender Nonconforming People (7th Version 2012) (hereinafter
       “WPATH Standards of Care”) represent the consensus approach of the medical and
       mental health community, Br. of Medical Amici 13, and have been recognized by
       various courts, including this one, as the authoritative standards of care, see
       De’lonta v. Johnson, 708 F.3d 520, 522–23 (4th Cir. 2013); see also Edmo, 935 F.3d
       at 769; Keohane v. Jones, 328 F. Supp. 3d 1288, 1294 (N.D. Fla. 2018), vacated sub
       nom. Keohane v. Fla. Dep’t of Corrs. Sec’y, 952 F.3d 1257 (11th Cir. 2020). There
       are no other competing, evidence-based standards that are accepted by any
       nationally or internationally recognized medical professional groups.” Edmo, 935
       F.3d at 769 (quoting Edmo v. Idaho Dep’t of Corr., 358 F. Supp. 3d 1103, 1125 (D.
       Idaho 2018)).

Grimm, 972 F.3d at 595-596. Further irreconcilable with available data and the consensus

of the medical community, Dr. Levine asserts that gender dysphoria is a psychiatric

condition, and “educational failure, vocational inconstancy and social isolation” are

“clinical errors” of gender confirming treatment. Charles Decl., Ex. A at ¶8(m), ¶23. The

Fourth Circuit disagrees, holding that: “Being transgender is also not a psychiatric

condition, and implies no impairment in judgment, stability, reliability, or general social or

vocational capabilities.” Grimm, 972 F.3d at 594 (quote marks omitted); see also, Kadel,

12 F.4th at 427. Dr. Levine espouses the belief that gender dysphoria, or being transgender,

is a way of living that people commit to in youth and is a “product of other things,”

including possibly familial sexual abuse, distress over “their body changing,” growing up

in a single-parent home, or having an autism diagnosis. Charles Decl., Ex. B at 154:5-8;

235:23-25; 137:10-13; 235:20-22; 235:17-20. Here too, the Fourth Circuit has held

conclusively that “[J]ust like being cisgender, being transgender is natural and is not a

choice.” (Kadel, 12 F.4th at 427 (quoting Grimm, 972 F.3d at 594)). Dr. Levine admits to



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practicing and advocates for the use of “conversion therapy” with transgender youth,4 but

the Fourth Circuit has found that “mental health practitioners’ attempts to convert

transgender people’s gender identity to conform with their sex assigned at birth did not

alleviate dysphoria, but rather caused shame and psychological pain.” (Grimm, 972 F.3d at

595). Fourth Circuit precedent renders much of Dr. Levine’s testimony irrelevant.

         D.   Dr. Levine’s Testimony Is Methodologically Unreliable and
         Unsupported by Science or Medicine.

         Expert testimony should only be admitted if its methodology is sufficiently reliable.

Sardis, 10 F.4th at 281. Dr. Levine’s opinions fall far short of each prong of this reliability

standard. Dr. Levine admitted at deposition that theories upon which he relies lack any

scientific support and have not been tested or subjected to peer review or publication.

Charles Decl., Ex. B at 109:20-25; 116:4-7; 122:8-124:22; 131:11-132:1; 200:11-201:25.

As such, Dr. Levine cannot and does not offer the known or potential error rates, and

perplexingly asserts without any evidence whatsoever that his views are accepted and

shared by the amorphous and unspecific “scientific community.” Charles Decl., Ex. A at

¶9, ¶10, ¶11, ¶12, ¶13, ¶23 ¶48, ¶121.

         Even putting the Daubert factors aside, as Dr. Levine claims his “experience” is

sufficient foundation for his opinions, he fails to address how this purported experience

leads to his conclusions and how such experience is reliably applied to the facts here. See,

e.g., Cooper, 259 F.3d at 200 (affirming the exclusion of an expert because he “asserted



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    Charles Decl., Ex. A at ¶31, ¶18, ¶119.

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what amounted to a wholly conclusory finding based upon his subjective beliefs rather than

any valid scientific method.”); SAS Inst., 125 F. Supp. 3d at 589; see also Nat’l Ass’n. for

Rational Sexual Offense L. at *3 (excluding expert where offering party failed to establish

how expert’s “experience leads to his conclusions nor how those experiences have been

reliably applied to the facts”).

              1.      Dr. Levine’s Assertion that There are Widely Varying Views
                      about the Appropriate Treatment for Gender Dysphoria Is
                      Simply Wrong.

       Chief among Dr. Levine’s many unreliable opinions is his assertion that wide

disagreement exists about the appropriate treatment for gender dysphoria and that the SOC

are not accepted by the scientific community. Charles Decl., Ex. A at ¶8(c). Contrary to

Dr. Levine’s personal feelings, there is broad consensus about the appropriate treatment

for gender dysphoria. All major medical associations, the largest health systems in the

United States (Department of Veterans Affairs, Kaiser-Permanente, the Federal Bureau of

Prisons), and most major health insurers endorse and follow the treatment protocols

established by the WPATH in the SOC Version 7. Charles Decl., Ex. F at ¶27. This factual

reality, combined with Dr. Levine’s own admissions about his use of the WPATH treatment

protocols calls into serious question the reliability of this proffered opinion. Charles Decl.,

Ex. B at 55:13-17; 56:2-5; 112:16-21; 176:8-16; 225:24-226:17. Dr. Levine even admitted

this in his most recent prior deposition in December 2020, acknowledging that he continues

to utilize the WPATH SOC when writing letters to authorize hormones or surgery for

someone with gender dysphoria. Charles Decl., Ex. G at 29:10-18; 37:2-13; 47:22-49:3;

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103:11-19. At the Claire deposition, Dr. Levine confessed that he does not dispute that the

WPATH SOC is widely accepted, but just maintains, without evidence, that they are

“wrong,” even though his clinical care continues to be consistent with these standards.

Charles Decl., Ex. G at 145:16-24; Charles Decl., Ex. B at 55:13-17; 56:2-5; 112:16-21;

176:8-16; 225:24-226:17; Ex. G at 103:11-19. Dr. Levine fails to show how his experience

leads to this conclusion, and when applied to the present facts, he cannot bridge the analytic

gap.

              2.     Dr. Levine’s Opinion That Accessing Gender-Confirming Care
                     Is Experimental and Unethical is Unfounded.

        Dr. Levine alleges that because transgender adults face increased vulnerability to

negative life outcomes, providing any “affirmation treatments,” particularly to adolescents,

is experimental and unethical. Charles Decl., Ex. A at ¶8(k), ¶81. This opinion cannot

satisfy the reliability standard because Dr. Levine authorizes this care for his own patients

and either ignores studies contrary to his belief or distorts them beyond the authors’ explicit

intentions or design. Significantly, he omits recent studies demonstrating that medical

treatments for transgender adolescents and adults have favorable outcomes across many

measures. Charles Decl., Ex. F at ¶79. A plethora of studies also show that trans people

experience pervasive stigma and discrimination, resulting in health disparities. But Dr.

Levine baselessly claims that receiving gender-confirming care causes those disparities

and is therefore experimental, relying most heavily on two articles which do not support

this assertion. Charles Decl., Ex. A at ¶74. First, he relies on a study by Cecilia Dhejne, a



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scholar in the field who has publicly and specifically said Dr. Levine’s assertion is a

mischaracterization of her work. Charles Decl., Ex. H at 65. Her study also does not support

his assertion because the study itself states it is not designed to “evaluate whether or not

gender affirming care is beneficial.” Charles Decl., Ex. I at 2. And when confronted at

deposition, he admitted the study design created a serious limitation in drawing any

conclusions about the efficacy of the care. Charles Decl., Ex. B at 156:7-11. The second

study that Dr. Levine misrepresents to support his claim that gender confirming care is

experimental reached a similar conclusion to Dhejne’s. Despite this, Dr. Levine implies

that the article demonstrates higher death rates among people who received gender-

confirming surgery, but the article itself precisely states that “the present study design does

not allow for determination of causal relations between HT (hormone therapy) and SRS

(sex reassignment surgery) and somatic morbidity or mortality.” Charles Decl., Ex. J at

e65-e66.

       Ultimately, Dr. Levine fails to cite any literature that supports this belief, and

regardless, he confirmed that this should not prevent Plaintiffs from receiving the relief

they seek. When asked if he believes that because a study showed that some people

committed suicide no patient should be able to access gender affirming surgery, Dr. Levine

responded, “that would be illogical.” Charles Decl., Ex. B at 151:25-152:6. And when

asked if all the concerns he has are justifications for denying medical interventions to all

people with gender dysphoria, he responded “I’m not advocating denying endocrine

treatment or surgical treatment.” Charles Decl., Ex. B at 85:4-11.


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              3.     Dr. Levine’s Opinions About Gender Dysphoria in Transgender
                     Children and Puberty-Delaying Treatment Are Not Based In
                     Fact.

       Another unreliable opinion presented by Dr. Levine is that “a majority” of pre-

pubescent children diagnosed with gender dysphoria will cease to be transgender. Charles

Decl., Ex. A at ¶8(d); Charles Decl., Ex. B at 178:17-24. This opinion is undermined by

Dr. Levine’s admission at deposition that some children are transgender and that as they

progress into adolescence, they would need medical care that he has, and would, authorize.

Charles Decl., Ex. B. at 173:7-15; 137:14-23; 173:22-174:5; 53:16-54:7. Dr. Levine

glosses over the lack of peer-reviewed and scientific evidence to support his opinion by

providing only vague references to “science articles,” and “eleven studies,” that support

his belief. Charles Decl., Ex. B at 178:17-24. Upon closer inspection, this “evidence” falls

apart. Dr. Levine could not name eleven studies, but rather only one article from 2019

which purportedly listed those studies. Charles Decl., Ex. B at 191:20-192:7. But all studies

used to support this conclusion suffer from the same malady: they analyze data from

children identified under the obsolete and overly broad diagnosis for “Gender Identity

Disorder in Children” and not the current DSM-5 diagnostic criteria “Gender Dysphoria in

Children.” Dr. Levine then notes “the latest one” of the “eleven studies” was published in

2021 by Singh. Id. But not only does Singh’s article suffer the same infirmity as the “eleven

studies,” but it also analyzes data initially collected 30 years ago, with children diagnosed

under criteria from the DSM III, which is now four versions old. Charles Decl., Ex. B at

192:5-14. Therefore, the “desistance” rates Dr. Levine discusses reflect children who might

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have exhibited gender non-conforming behaviors but did not necessarily identify as

transgender and would not satisfy the current diagnostic criteria. Charles Decl., Ex. K at

¶89. This illustrates Dr. Levine manipulating available research to assert his personal views

as unreliable “opinions.”

       Dr. Levine’s most strikingly unreliable opinion is his testimony at deposition that

puberty blockers should not be available to any transgender adolescents.5 Charles Decl.,

Ex. B at 184:14-18; 187:8-11. Dr. Levine’s methodological and scientific support for this

opinion is woefully insufficient. He states that in the cases he has seen, puberty blocking

treatment was “like a treatment for the mother’s pathology, not for the child.” Charles

Decl., Ex. B at 184:25-185:2. He asserts, without evidence, that the cause of gender

dysphoria is related to “acting out the ambitions of the mother or father,” and puberty

“lead[s] to desistance in many, many children.” Charles Decl., Ex. B at 185:7-16. If it were

up to Dr. Levine, he would “consider banning puberty blocking hormones even for children

who have been cross-gender identified for four years to give them a chance to desist.”

Charles Decl., Ex. B at 186:20-25. Taken together with Dr. Levine’s view that parents



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 It is contradictory and newly formed. Dr. Levine’s report states, “it is not possible to
make a single, categorical statement about the proper treatment of children presenting
with gender dysphoria,” and yet this new opinion does just that. Charles Decl., Ex. A at
¶43. And a mere nine months earlier, Dr. Levine sat for deposition and opined the exact
opposite, i.e., puberty blockers should be available in limited cases “[w]here we had a
healthy mother and father, an intact family who was psychologically informed and who
has – where a child has come out of toddlerhood acting consistently in a gender atypical
fashion, and where the parents are not homophobic people.” Charles Decl., Ex. G at
158:6-16.

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should be able to subject their children to conversion therapy “to assist their child to

achieve comfort with the gender corresponding to his or her sex” assigned at birth, this

makes clear that Dr. Levine’s believes transgender people should not exist, an opinion he

cannot connect to any meaningful data, and that is not reliably applied to the facts of this

case. Charles Decl., Ex. A at ¶119. Even Dr. Levine admits the unscientific nature of this

opinion, he does not know where it comes from or “to what extent it’s from my politics, or

from my being a parent or a doctor, I don’t know.” Charles Decl., Ex. B at 187:20-24.

              4.     Dr. Levine’s Assertion that “Social Contagion,” “Rapid Onset
                     Gender Dysphoria,” and “Involvement With the Internet,” as
                     Causes for Gender Dysphoria Justify Denying Treatment to
                     Transgender People Is Not Supported By Scientific Evidence.

       A stark example of Dr. Levine’s opinions failing to meet methodological reliability

is his assertion that the untested and scientifically unsupported hypotheses of “social

contagion,” “rapid onset gender dysphoria” and “involvement with the Internet,” justifies

denying treatment to transgender adolescents and adults. Charles Decl., Ex A at ¶15.

“[W]hile hypothesis is essential in the scientific community because it leads to advances

in science, speculation in the courtroom cannot aid the fact finder in making a

determination … .” Dunn v. Sandoz Pharms. Corp., 275 F. Supp. 2d 672, 684 (M.D.N.C.

2003). Dr. Levine conceded that “social contagion” has not even been tested, let alone

proven and could not provide a single citation to a scientific source discussing the theory

in any research study. Charles Decl., Ex. A at ¶122(f); Charles Decl., Ex. B at 114:8-11;

116:4-7. When confronted with a news article cited in his report to support the hypothesis,



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Dr. Levine confessed he was not familiar with the article, its authors, or whether it was

peer-reviewed. Charles Decl., Ex. B at 123:4-124:20. The only publication Dr. Levine

could name in relation to these hypotheses was withdrawn and republished with a

significant correction that Dr. Levine confessed he had not read. Charles Decl., Ex. B at

116:22-117:9. The correction admitted that: “rapid onset gender dysphoria is not a formal

mental health diagnosis,” “the report did not collect data from adolescents and young adults

or clinicians and therefore does not validate the phenomenon,” and “the use of the term,

rapid onset gender dysphoria should be used cautiously by clinicians and parents to

describe youth.” Charles Decl., Ex. L at 1. Indeed, the only peer-reviewed study to

interrogate this hypothesis using adolescent clinical data “did not support the ROGD

hypothesis.” Charles Decl., Ex. M at 1.

       Finally, Dr. Levine uses “the Internet” as a sword to question the veracity of

transgender adolescents’ identities and deny them medically necessary care and a shield

for his unsubstantiated beliefs about the prevalence of “detransition.” Charles Decl., Ex. A

at ¶14, ¶15, ¶99; id. at ¶35, ¶56, ¶98. Again, Dr. Levine admitted that his belief about

transgender adolescents being “influenced by the internet” is a hypothesis lacking any

support in studies, research, or peer-reviewed publications. Charles Decl., Ex. B at 115:24-

116:7. While Dr. Levine even admits he has not performed any research or “scientifically

acceptable” studies to support this hypothesis, he claims others have but provided not even

a single study in his report or at deposition. Charles Decl., Ex. B at 115:13-19.




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       Similarly, when confronted about his report’s assertion that “the internet housed

some 60,000 reports of detransition,” in a “subreddit called r/detransition,” Dr. Levine

admitted this was a substantial numerical error repeated throughout his report, and the

figure should be 16,000. Charles Decl., Ex. B at 196:3-7. Even still, he admitted he had no

evidence that even one of the 16,000 members of the subreddit had actually

“detransitioned.” Charles Decl., Ex. B at 200:6-201:25. Given that these hypotheses about

the influence of the internet and the evidence of these estimates about “detransition” are

entirely unverified, Dr. Levine cannot claim that they are supported by the scientific

community or have any known error rate. His reliance on his own ipse dixit fails to establish

a reliable basis upon which to assert this opinion.

              5.     Dr. Levine’s Assertion That The “Transgender Treatment
                     Industry” Is An Entity That Exists And Is Monetarily And
                     Politically Motivated To Push Medical Treatments On
                     Transgender People Is A Political Not Scientific Opinion.

       Ironically, while Dr. Levine invokes the mantra throughout his testimony that

interventions should be “based on science and not politics,” he brings politics into the

discussion by claiming a cabal of medical professionals are part of a “Transgender

Treatment Industry.” He employs this novel term to malign, stereotype, and diminish the

thousands of medical professionals working to provide competent and standards-based

psychiatric and medical care to transgender people. Charles Decl., Ex. A at ¶8(l)(n), ¶15,

¶62, ¶65, ¶120, ¶125. As Dr. Levine has confessed with other asserted “opinions,” there is

no peer-reviewed study or published research that uses this term. Charles Decl., Ex. B at


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131:18-24. When asked to describe the term’s genesis, Dr. Levine said he long pondered

this concept and yet “if it’s not the first, it might be the second” time he used the phrase.

Charles Decl., Ex. B at 128:9-19. Notably, this term appeared in another of Defendants’

expert witness reports who, at deposition, claimed the term was his and admitted it does

not appear in a peer-reviewed article or study and is not accepted or commonly used in the

scientific or medical community. Charles Decl., Ex. N at 63:3-16. Again, Dr. Levine can

point to no data or research to support his theory the “Transgender Treatment Industry”

exists as a concept outside of his subjective beliefs, and therefore is not reliable or relevant

in application to the facts of Plaintiffs’ claims.

       E.    Dr. Levine Is Not Qualified To Offer Opinions About the Treatment of
       Pre-Pubescent Transgender Children In This Case.

       To render expert testimony, the witness must possess the requisite “knowledge,

skill, experience, training, or education” that would assist the trier of fact. Kopf v. Skyrm,

993 F.2d 374, 377 (4th Cir. 1993); Wright v. United States, 280 F. Supp. 2d 472, 478

(M.D.N.C. 2003) (“A witness may testify as to his specialized knowledge so long as he is

qualified as an expert based on any combination of knowledge, skill, experience, training,

or education.”). If not qualified, the expert’s testimony is unreliable. Reliastar Life Ins. Co.

v. Laschkewitsch, No. 5:13-CV-210-BO, 2014 WL 1430729, at *1 (E.D.N.C. Apr. 14,

2014); see, e.g., Mod. Auto. Network, LLC at 537 (affirming the district court’s exclusion

of an expert because they lacked experience relevant to the matters at issue); Lebron v. Sec.

of Fla. Dept. of Children and Families, 772 F.3d 1352, 1369 (11th Cir. 2014) (holding



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expert witness was properly excluded who did not propose to testify about matters growing

naturally and directly out of research he had conducted independent of the litigation).

       Dr. Levine admitted at his deposition—as he must—that he has almost no

experience researching and writing about or administering psychiatric treatment to

transgender children. He confessed that none of the numerous external grants he has

received for research and writing during his 48-year career were to study the treatment of

transgender children or adolescents. Charles Decl., Ex. A at ¶1; Ex. B at 23:1-8. Indeed, in

the voluminous list of articles he has authored or co-authored, only one even mentions

transgender children (“Ethical Concerns”), and only to echo Dr. Levine’s personal views

on their care, not to report any study he has completed. Charles Decl., Ex. A at Exhibit A

at 6-16.

       Dr. Levine’s report states that when he began practicing in 1974 that, “[a]n

occasional child was seen during this era.” Charles Decl., Ex. A at ¶3. When asked to

clarify, he explained that “this era” meant the first twenty years of his practice and that

“occasional” meant that “95 percent of the patients that we saw were 16, 17, 18 and up,”

and “in the first twenty years, transgender issues were primarily an older teenager and

adult, mostly adult issues.” Charles Decl., Ex. B at 47:5-6; 47:10-13. When asked about

more recent experience treating children with gender dysphoria, Dr. Levine confessed that

he had treated no children with gender dysphoria in the last year and had seen only one

child under age 11 in the last five years. Charles Decl., Ex. B at 51:14-18; 52:14-22 (he




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“personally [has] not delivered a psychotherapeutic care or evaluation directly of a child”

in the last five years.).

        Dr. Levine is not recognized as an expert in providing treatment to transgender

children by his private employer, nor by the university where he is a clinical professor of

psychiatry. He does not write or research about providing treatment to transgender

children, nor does he deliver any psychiatric care to them in his day-to-day practice. Dr.

Levine is not qualified under the Daubert standards to offer opinions on matters relating to

the care of transgender children, and he cannot use his personal beliefs as evidence in this

case.

        F.   Dr. Levine’s Report, Opinions, And Testimony Lack Probative Value
        And Are Thus Inadmissible Under Federal Rule Of Evidence 403.

        Finally, the Court should exclude evidence if its introduction will result in unfair

prejudice, confusion of the issues, or result in misleading testimony. Fed. R. Evid. 403. As

noted above, Dr. Levine offers no opinions on any factual dispute in this case, and, in any

event, the opinions he offers are irrelevant and unreliable. Consideration of his testimony

would waste time and create confusion. The testimony would also result in prejudice, as

the testimony seeks to sow confusion about the veracity of Plaintiffs’ gender identity,

gender dysphoria diagnosis, and other experiences—issues unrelated to whether this

insurer can deny coverage of the same kinds of treatments to transgender people that it

provides cisgender people. Accordingly, Dr. Levine’s testimony fails to satisfy the

requirements of Federal Rule of Evidence 403 and should be excluded.



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                                    CONCLUSION

      WHEREFORE, based on the foregoing, Plaintiffs respectfully request that this

Court grant the instant motion and exclude all of Dr. Levine’s purported expert testimony

because it is not admissible under Daubert and the Federal Rules of Evidence.



Dated: February 2, 2022                      Respectfully submitted,


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                          CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3(d)(1)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.

Dated: February 2, 2022

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                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

registered users.

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